

People v Calderon (2023 NY Slip Op 05200)





People v Calderon


2023 NY Slip Op 05200


Decided on October 12, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2023

Before: Webber, J.P., Kern, Singh, Scarpulla, Rosado, JJ. 


Ind No. 1557/16 Appeal No. 758 Case No. 2018-2400 

[*1]The People of the State of New York, Respondent,
vJerry Calderon, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Alyssa Gamliel of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Emily A. Aldridge of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Marc J. Whiten, J.), rendered November 20, 2017, convicting defendant, upon his plea of guilty, of attempted burglary in the third degree, and sentencing him, as a second felony offender, to a term of 1½ to 3 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the order of protection, and otherwise affirmed.
The sentencing court failed to "state on the record the reasons for issuing [a final] order of protection" where a temporary order of protection had previously been issued
(CPL 530.13 [4]). Accordingly, the order of protection should be vacated (see People v Moncrieft, 168 AD3d 982 [2d Dept 2019], lv denied 33 NY3d 951 [2019]). As the People concede, defendant is entitled to this relief.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2023








